20-06093-rbk Doc#470 Filed 06/01/24 Entered 06/01/24 23:23:41 Imaged Certificate of
                                 Notice Pg 1 of 5




 The relief described hereinbelow is SO ORDERED.

 Signed May 30, 2024.


                                              __________________________________
                                                          Ronald B. King
                                                  United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

  IN RE:                                  §
                                          §
  LITTLE RIVER HEALTHCARE                 §
  HOLDINGS, LLC, ET AL.,                  §         CASE NO. 18-60526-RBK
                                          §
                DEBTORS.                  §         CHAPTER 7
  _______________________________________§
                                          §
  JAMES STUDENSKY,                        §
  CHAPTER 7 TRUSTEE FOR                   §
  LITTLE RIVER HEALTHCARE                 §
  HOLDINGS, LLC, ET AL.,                  §
                                          §
                PLAINTIFF,                §
                                          §
  V.                                      §         ADVERSARY NO. 20-06093-RBK
                                          §
  UNITEDHEALTHCARE INSURANCE CO., ET AL., §
                                          §
                DEFENDANTS.               §
20-06093-rbk Doc#470 Filed 06/01/24 Entered 06/01/24 23:23:41 Imaged Certificate of
                                 Notice Pg 2 of 5


                                  ORDER DENYING MOTION IN LIMINE

          On May 30, 2024, the Court heard United’s Motion in Limine #1 to Exclude the 835/837

  Reports (ECF No. 458) and determined that the Motion should be denied for the reasons stated on

  the record. It is, therefore,

          ORDERED that the above-referenced Motion is DENIED.

                                               ###
         20-06093-rbk Doc#470 Filed 06/01/24 Entered 06/01/24 23:23:41 Imaged Certificate of
                                          Notice Pg 3 of 5
                                                              United States Bankruptcy Court
                                                                Western District of Texas
Studensky,
      Plaintiff                                                                                                        Adv. Proc. No. 20-06093-rbk
UnitedHealthcare Insurance Company,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0542-6                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: May 30, 2024                                               Form ID: pdfintp                                                          Total Noticed: 13
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 01, 2024:
Recip ID                   Recipient Name and Address
aty                    +   Brent A. Murcia, Robins Kaplan LLP, 800 LaSalle Ave., Ste. 2800, Minneapolis, MN 55402-2015
aty                    +   Erica D. Rosenbaum, Robins Kaplan LLP, 800 LaSalle Ave., Ste. 2800, Minneapolis, MN 55402-2015
aty                    +   John K. Harting, Robins Kaplan LLP, 800 LaSalle Ave., Ste. 2800, Minneapolis, MN 55402-2015
aty                    +   Melissa S. Geller, Duane Morris, LLP, 1540 Broadway, New York, NY 10036-4086
aty                    +   Munir R. Meghjee, Robins Kaplan LLP, 800 LaSalle Ave., Ste. 2800, Minneapolis, MN 55402-2015
Resp                   +   Kevin Lewis, D.O., c/o Lynn Hamilton Butler, Husch Blackwell LLP, 111 Congress Avenue, Suite 1400 Austin, TX 78701-4093
Resp                   +   Paul Worrell, D.O., c/o Lynn Hamilton Butler, Husch Blackwell LLP, 111 Congress Avenue, Suite 1400 Austin, TX 78701-4093
dft                    +   United HealthCare of Texas, Inc, c/o CT Corporation System, 1999 Bryan St., Suite 900, Dallas, TX 75201-3140
dft                    +   United Healthcare Benefits of Texas, Inc., c/o CT Corporation System, 1999 Bryan St., Suite 900, Dallas, TX 75201-3140
dft                    +   United Healthcare Community Plan of Texas, L.L.C., c/o CT Corporation System, 1999 Bryan St., Suite 900, Dallas, TX 75201-3140
dft                    +   UnitedHealthcare Insurance Company, c/o CT Corporation System, 1999 Bryan St., Suite 900, Dallas, TX 75201-3140

TOTAL: 11

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion07.au.ecf@usdoj.gov
                                                                                        May 30 2024 22:29:00      United States Trustee - WA12, United States
                                                                                                                  Trustee, 903 San Jacinto Blvd, Suite 230, Austin,
                                                                                                                  TX 78701-2450
pla                    + Email/Text: jstudensky.trustee@outlook.com
                                                                                        May 30 2024 22:29:00      James Studensky, 3912 W. Waco Drive, Waco,
                                                                                                                  TX 76710-7108

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 01, 2024                                            Signature:           /s/Gustava Winters
        20-06093-rbk Doc#470 Filed 06/01/24 Entered 06/01/24 23:23:41 Imaged Certificate of
                                         Notice Pg 4 of 5
District/off: 0542-6                                             User: admin                                                            Page 2 of 3
Date Rcvd: May 30, 2024                                          Form ID: pdfintp                                                     Total Noticed: 13



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 30, 2024 at the address(es) listed below:
Name                            Email Address
Andrew G. Jubinsky
                                on behalf of Defendant United Healthcare Community Plan of Texas L.L.C. andy.jubinsky@figdav.com,
                                ashley.west@figdav.com;danna.walls@figdav.com

Andrew G. Jubinsky
                                on behalf of Defendant UnitedHealthcare Insurance Company andy.jubinsky@figdav.com
                                ashley.west@figdav.com;danna.walls@figdav.com

Andrew G. Jubinsky
                                on behalf of Defendant United HealthCare of Texas Inc andy.jubinsky@figdav.com,
                                ashley.west@figdav.com;danna.walls@figdav.com

Andrew G. Jubinsky
                                on behalf of Defendant United Healthcare Benefits of Texas Inc. andy.jubinsky@figdav.com,
                                ashley.west@figdav.com;danna.walls@figdav.com

Brad Thompson
                                on behalf of Plaintiff James Studensky bthompson@duanemorris.com
                                JWTexeira@duanemorris.com;DOLeary@duanemorris.com;JArechiga@duanemorris.com;JVEarl@duanemorris.com;BHPandya
                                @duanemorris.com;KAFillmore@duanemorris.com;MSGeller@duanemorris.com;HEngelmann@duanemorris.com;MSGeller&#
                                06

Brian Talbot Cumings
                                on behalf of Plaintiff James Studensky bcumings@gdhm.com ctrickey@gdhm.com

Christopher H. Trickey
                                on behalf of Plaintiff James Studensky ctrickey@gdhm.com bcumings@gdhm.com;mhenderson@gdhm.com

Eric S Goldstein
                                on behalf of Defendant UnitedHealthcare Insurance Company egoldstein@goodwin.com
                                bankruptcyparalegal@goodwin.com;bankruptcy@goodwin.com

Eric S Goldstein
                                on behalf of Defendant United Healthcare Community Plan of Texas L.L.C. egoldstein@goodwin.com,
                                bankruptcyparalegal@goodwin.com;bankruptcy@goodwin.com

Eric S Goldstein
                                on behalf of Defendant United Healthcare Benefits of Texas Inc. egoldstein@goodwin.com,
                                bankruptcyparalegal@goodwin.com;bankruptcy@goodwin.com

Eric S Goldstein
                                on behalf of Defendant United HealthCare of Texas Inc egoldstein@goodwin.com,
                                bankruptcyparalegal@goodwin.com;bankruptcy@goodwin.com

Jimmy Parrish
                                on behalf of Interested Party Matthew Theiler jparrish@bakerlaw.com orlbankruptcy@bakerlaw.com;cmartin@bakerlaw.com

Katharine Battaia Clark
                                on behalf of Defendant United HealthCare of Texas Inc kclark@thompsoncoburn.com,
                                smeiners@thompsoncoburn.com;lcarranza@thompsoncoburn.com;ldebardeleben@thompsoncoburn.com;lbrasher@thompsoncob
                                urn.com

Katharine Battaia Clark
                                on behalf of Defendant United Healthcare Community Plan of Texas L.L.C. kclark@thompsoncoburn.com,
                                smeiners@thompsoncoburn.com;lcarranza@thompsoncoburn.com;ldebardeleben@thompsoncoburn.com;lbrasher@thompsoncob
                                urn.com

Katharine Battaia Clark
                                on behalf of Defendant United Healthcare Benefits of Texas Inc. kclark@thompsoncoburn.com,
                                smeiners@thompsoncoburn.com;lcarranza@thompsoncoburn.com;ldebardeleben@thompsoncoburn.com;lbrasher@thompsoncob
                                urn.com

Katharine Battaia Clark
                                on behalf of Respondent Dr. Robert O'Neal kclark@thompsoncoburn.com
                                smeiners@thompsoncoburn.com;lcarranza@thompsoncoburn.com;ldebardeleben@thompsoncoburn.com;lbrasher@thompsoncob
                                urn.com

Katharine Battaia Clark
                                on behalf of Defendant UnitedHealthcare Insurance Company kclark@thompsoncoburn.com
                                smeiners@thompsoncoburn.com;lcarranza@thompsoncoburn.com;ldebardeleben@thompsoncoburn.com;lbrasher@thompsoncob
                                urn.com

Lynn Hamilton Butler
                                on behalf of Respondent Kevin Lewis D.O. lynn.butler@huschblackwell.com,
                                penny.keller@huschblackwell.com;christine.deacon@huschblackwell.com;elizabeth-spivey-5378@ecf.pacerpro.com;lynn-hamilt
        20-06093-rbk Doc#470 Filed 06/01/24 Entered 06/01/24 23:23:41 Imaged Certificate of
                                         Notice Pg 5 of 5
District/off: 0542-6                                        User: admin                                                        Page 3 of 3
Date Rcvd: May 30, 2024                                     Form ID: pdfintp                                                 Total Noticed: 13
                          on-butler-2113@ecf.pacerpro.com

Lynn Hamilton Butler
                          on behalf of Respondent Paul Worrell D.O. lynn.butler@huschblackwell.com,
                          penny.keller@huschblackwell.com;christine.deacon@huschblackwell.com;elizabeth-spivey-5378@ecf.pacerpro.com;lynn-hamilt
                          on-butler-2113@ecf.pacerpro.com

Marcus A Guith
                          on behalf of Defendant United HealthCare of Texas Inc mguith@robinskaplan.com

Marcus A Guith
                          on behalf of Defendant UnitedHealthcare Insurance Company mguith@robinskaplan.com

Marcus A Guith
                          on behalf of Defendant United Healthcare Benefits of Texas Inc. mguith@robinskaplan.com

Marcus A Guith
                          on behalf of Defendant United Healthcare Community Plan of Texas L.L.C. mguith@robinskaplan.com

Matthew C. Powers
                          on behalf of Plaintiff James Studensky mpowers@gdhm.com jlanger@gdhm.com

Michael Fishel
                          on behalf of Intervenor Blue Cross Blue Shield of Texas mfishel@kslaw.com
                          michael-fishel-4347@ecf.pacerpro.com;txefilingnotice@sidley.com

Tamara D. Baggett
                          on behalf of Interested Party Matthew Theiler tbaggett@bakerlaw.com


TOTAL: 26
